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12TH JUDICIAL DISTRICT COURT
OTERO COUNTY NM
6/1/2015 8:37:44 PM
KATINA WATSON
CLERK OF COURT

STATE OF NEW MEXICO Angela Harris

COUNTY OF OTERO
TWELFTH JUDICIAL DISTRICT COURT

BELLEVIEW VALLEY LAND CO., a New
Mexico corporation, and JOHN H. WILLIAMS
and ELLEN B. WILLIAMS, husband and wife,

Plaintiffs,

Cause No. CV-2010-01054
Judge James Waylon Counts

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TAMMY SPRAGUE, Personal Representative
of the Estate of FRED VAN WINKLE, Deceased,

Defendant.
And

BRIAN VAN WINKLE and JUDITH A.
VAN WINKLE, husband and wife,

Defendants-in-Intervention

ESTATE OF FRED VAN WINKLE’S MEMORANDUM IN OPPOSITION TO
PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
TO FORECLOSE JUDGMENT LIEN AND SUPPORTING BRIEF

Defendant, Tammy Sprague, personal representative of the estate of Fred Van Winkle,
deceased (the “Estate”), by and through her attorney of record, Law Office of Kyle H. Moberly,
P.C., hereby submits, in accordance with Subparagraph (2) of Paragraph D of Rule 1-056 NMRA,
the Estate’s memorandum in opposition to the Plaintiffs’ Motion for Summary Judgment to

Foreclose Judgment Lien and Supporting Brief (the “Plaintiffs’ Motion”).

Estate of Fred Van Winkle’s Memorandum in Opposition to

Plaiutil!s’ Motion for Summary Judgment to Foreclose Judgment Lien

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PLAINTIFF'S

: EXHIBIT
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whether the proof is sufficient to prove the particular fact. Linton v. Mauer-Neuer Meat Packers,

71 N.M. 305, 378 P.2d 126 (1963). The Estate should be entitled to a reasonable opportunity for
discovery prior to any consideration of the Plaintiffs’ Motion
ARGUMENT
A. PLAINTIFFS ARE NOT ENTITLED TO A JUDGMENT AS A MATTER OF LAW.
E Introduction. The Plaintiffs have asked this Court to either -
(a) declare that the Plaintiffs will have alien against the Property ifitis redeemed
by the Estate that they can foreclose immediately after the redemption, or
(0) order the Estate to pay all of the debt that was owed by Fred Van Winkle to
the Plaintiffs and evidenced by the original judgment and the deficiency judgment as a condition to
redeeming the Property.
2. Plaintiffs Will Not Have a Lien Against the Property.
(a) Introduction. The Plaintiffs make the following arguments as to why they
will have a lien against the Property if it is redeemed by the Estate:
(1) First, the redemption will revive the original judgment lien;
(2) Second, the recording of the transcript of defici ency judgment created
a new, additional lien that will attach to the Property if it is redeemed by the Estate.
(b) No Revival of Original Judgment Lien. The debt that was evidenced by
the judgment the Plaintiffs obtained against Fred Van Winkle on August 13, 2010 (the “Original

Judgment”), was discharged by the United States Bankruptcy Court for the District of New Mexico

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on August 26, 2013. A copy of the Discharge of Debtor entered by the United States Bankruptcy
Court for the District of New Mexico in the case of In re Fred Dale Van Winkle, Case No. 13-
11743-j7, is attached hereto as Exhibit A. Section 524(a)(1) of the Bankruptcy Code provides that
“A discharge ina case under this title... voids any judgment at any time obtained, to the extent that
such judgment is a determination of the personal liability of the debtor with respect to any debt
discharged under section 727... .” Accordingly, when Mr. Van Winkle’s discharge was granted,
the Original Judgment immediately became void as to the personal liability of Mr. Van Winkle.
New Mexico law is very clear that a “judgment lien expires with the judgment upon which it is
founded.” Westem States Collection Co_v Shain, 83 N.M. 203, 205, 490 P.2d 461 (1971).
Therefore, when the Original Judgment was voided under Bankruptcy Code Section 524, the
judgment lien that was created when the Plaintiffs’ recorded a transcript of the Original Judgment
in thereal property records of Otero County, New Mexico (the “Original Judgment Lien”) expired.
The Original Judgment Lien could not, and cannot, thereafter attach to any property subsequently
acquired by Mr. Van Winkle or his estate. See, e.g., In re Serrano, No. 7-08-12723 MA (Bankr.
N.M. 2009) (the judgment lien that secured a discharged judgment “does not attach to any property

the Debtors may acquire . . . in the future.”); Birney v. Smith (In re Bimey), 200 F.3d 225, 228 (4"

Cir, 1999) (judgment “could not ripen into alien following Birney’s discharge because the discharge
extinguished his liability for the underlying debt.”); In re Rourke, 288 B.R. 50, 52 (Bankr E.D.N.Y.
2003) (“As a result of the Debtor’s discharge, the Real Property purchased by the Debtor thereafter

was not encumbered by the Judgments, which are deemed void.”); Inre Norvell, 198 BR. 697, 699

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(Bankr. W.D. Ky. 1996) (“A judgment lien will not attach to any real estate acquired by the debtor
after the filing of a Chapter 7 bankruptcy proceeding in which the debtor received a discharge.”):
In re Ogbum, 212 B.R. 984, 987 (Bankr. M.D. Ala. 1995) (“upon discharge of the in personam
liability, there is no basis for the lien to attach to property acquired postpetition”) under §524(a)(1),
an unattached judgment was voided by the debtors’ discharge and thus no lien attached to debtors'
after-acquired property); Inre Thomas, 102 B.R. 199, 201 (Bankr. E.D. Cal. 1989) (“no judgment
lien could have been created post-discharge even though the Debtors had acquired attachable
property because the underlying judgment was Previously discharged and rendered void.”); In re
Yates, 47 B.R. 460, 462 (D. Colo. 1985) (when underlying judgment is discharged before “res”
exists upon which the “lien” could attach, no subsequent basis for a lien exists).

The Plaintiffs state that Section 39-5-18 NMSA 1 978 does not specify what the effect
of a redemption is “on third parties, including prior lien holders, subsequent lien holders, the
foreclosing party, or the purchase.” They claim that it restores the partes to the position they were
in prior to the foreclosure sale. They base their claim on two New Mexico cases and several cases
from other jurisdictions.

Both of the New Mexico cases concerned the effect of a redemption of property sold
at a tax sale, not at a foreclosure sale. Langhurst v. Langhurst, 49 NM. 329, 164 P.2d 204 (1945),
which is one of cases the Plaintiffs cite, merely addressed the issue of whether separate property
repurchased by a spouse after a tax sale is still the Separate property of that spouse. The court

concluded that it is. The other New Mexico case that Plaintiffs cite in their motion is Chavez v.

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Chavez, 56. N.M. 393, 244 P.2d 781 (1952). That case addressed the issue of whether a redemption
from a tax sale by one co-tenant operates as a redemption of the property for all of the co-tenants,
which the court concluded it did, and that, as a result, a previous judgment lien against one of the
co-tenants attached to that co-tenant’s interest in the property.

The Plaintiffs cite cases from other jurisdictions to support their claim that a
“redemption merely annuls the sale, and leaves the property subject to all liens which would have
been barred if the sale had ripened into title (emphasis added)” Counsel for the Estate has not had
sufficient time to review all of those cases, but he has found other cases that are probably more
applicable to New Mexico where title actually passes to the purchaser after the foreclosure sale and
the purchaser has the right to possess the property and enjoy all of the benefits of ownershi p unless
and until the right of redemption is exercised. See, e.g.,47 Am. Jur. 2d Judicial Sales §348 (‘the
owner’s exercise of his right of redemption has been held to vest in him a title freed from all claims
of lienors whose claims were subsequent to those for which the property was sold”); 55 Am. Jur. 2d
Mortgages §902 (“the lien for the unpaid balance of the mortgage debt is not restored upon a
redemption by the mortgagor by repaying the amount for which the property was sold at the trustee’s
sale, although that amount is less than the face of the mortgage”). In New Mexico, a redemption
should give the party exercising the right of redemption the same rights to the property that the
person who purchased the property at the foreclosure sale, subject to any floating liens against the
redeemer, such as a judgment lien. Thus, upon redemption, the Estate will acquire the Property free
and clear of all liens and other interests that were foreclosed as a result of the foreclosure sale.
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including the Original Judgment Lien. The Plaintiffs’ claim that their judgment lien would reattach
to the Property upon redemption would probably be true if Fred Van Winkle’s personal liability for
the debt had not been discharged in bankruptcy. But, it was. Asa result, if the Estate redeems the
Property it will not be subject to the Original Judgment Lien or any other lien or other interest that
was foreclosed by the foreclosure sale.

(c) Deficiency Judgment Lien Will Not Attach to the Property Upon
Redemption. The deficiency judgment that this Court entered on July 23, 2014, and amended on
July 28, 2014 (that judgment, as amended, is hereinafter referred to as the “Deficiency Judgment’),
did not make Mr. Van Winkle’s estate personally liable for the debt. It specifically states that “no
deficiency judgment is granted on an in personam basis against the Estate... .”? If it did, it would
have violated the discharge injunction of Section 524(a)(2) of the Bankruptcy Code. That statute
provides that “A discharge in a case under this title. . . operates as an injunction against the
commencement or continuation of an action, the employment of process, or an act, to collect,
recover or offset any such debt as a personal liability of the debtor... .” Therefore, the Deficiency
Judgment only confirmed that the Plaintiffs’ still had an #2 rem claim that was secured by the

existing lien against the real estate that was owned by Mr. Van Winkle when he filed bankruptcy

* The statement in the Deficiency Judgment, which was prepared by Plaintiffs’ counsel, that
“the lien created by the deficiency is collectable as provided in Chapel v_ Nevitt, 145 N.M. 674, 685,
203 P.3d 889, 900, 2009-NMCA-017” is so vague that the Estate’s counsel was not sure what was
meant by it until he read the Plaintiffs’ Motion. Chapel addressed the court’s equitable power to
allow an extension to the redemption period. To expect Ms. Sprague, who was pro se at the time,
to understand it is unrealistic. Furthermore, the Estate did not approve the form of the Deficiency
Judgment and may not have been given the opportunity to do so before it was entered.

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and that was still owned by his estate. In other words, the Deficiency Judgment merely confirmed
that the Plaintiffs had a lien against the Estate’s real estate in Ruidoso, New Mexico, that secured
the balance of the Original Judgment against Mr. Van Winkle, which as the Deficiency Judgment
states “remains collectable by the Plaintiffs through legal actions, or actions to enforce judgment
liens as they may exist in other New Mexico counties.”

To the extent that the Deficiency Judgment can be interpreted as making Mr. Van
Winkle’s estate personally liable for the debt and, therefore, supporting the Plaintiffs’ claim of an
additional lien that will attach to the Property if it is redeemed by the Estate, Section 524(a)(1) of
the Bankruptcy Code (as quoted above) makes it void. As stated in Pavelich v McCormick,

Barstow, Sheppard, Wayte & Carruth LLP (In re Pavelich ), 229 B.R. 777, 782 (B.A.P. 9th Cir,

1999), “all judgments purporting to establish personal liability of a debtor on a discharged debt,

including judgments obtained after bankruptcy, are void to that extent. They are not voidable, they
are void ab initio as a matter of federal statute.” A judgment lien can only secure a valid judgment.

Wester States Collection Co., at 83 N.M. 204 (“The existence of a valid judgmentis a prerequisite

to the existence of the lien.”). Thus, the transcript of the Defici ency Judgment that the Plaintiffs
recorded in the real property records of Otero County, New Mexico on August 14. 2014, cannot
attach to any property that the Estate acquires.

The Plaintiffs claim that the Estate is barred by “the doctrines of res judicata, law of
the case, waiver, estoppel, failure to timely appeal, and other applicable doctrines” from asserting

now that the Deficiency Judgment is void. That is not true. As the United States Supreme Court
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has explained, “Congress, because its power over the subject of bankmuptcy is plenary, may by
specific bankruptcy legislation create an exception to that principle res judicata and render judicial
acts taken with respect to the person or property of a debtor whom the bankruptcy law protects

nullities and vulnerable collaterally.” Kalb v. Feuerstein, 308 U.S. 433, 438-39, 60 S.Ct. 343, 84

L.Ed. 370 (1940). As stated before, Section 524(a)(1) voids the Deficiency Judgment and “void
judgments cannot be the basis for res judicata” or any other preclusion doctrine. In re Cruz, 254
B.R. 801, 811 (Bankr. $.D.N.Y. 2000) (court set aside a defaultjudgment entered against debtor and
the settlement agreement that he subsequently entered into with the holder of the default judgment).

3. The Estate Should Not be Ordered to Pay More to Redeem the Property than
Section 39-S-18 NMSA 1978 Specifically Requires, If this Court determines that the Plaintiffs do
not have a judgment lien that will attach, or reattach, to the Property if it is redeemed by the Estate,
then the Plaintiffs have asked this Court to order the Estate to pay the remainder of the debt that was
owed by Fred Van Winkle to the Plaintiffs as a condition to redeeming the Property.

As the Court of Appeals stated in Brown v, Trujillo, 135 N.M. 365, 88 P.3d 881, 887

(Ct. App. 2004), one of the ways a redemption statute protects debtors is to discourage lenders from
purchasing “a property at a foreclosure sale for considerably Jess than the amount of the debt,
thereby receiving the property for a minimal price while retaining the right to recover the full
amount of the debt.” That is exactly what the Plaintiffs tried to do in this case, but they should fail
and this Court should not bail them out. If the Williams had purchased the Property for the amount
of Mr. Van Winkle’s debt to the Plaintiffs, the Estate would not redeem the Property. But, instead,
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counsel should have warned the Williams that the Estate might exercise its right of redemption. If |

they failed to do so, that is a matter to be resolved between them and the Williams. In any event,

the Williams are not entitled to be reimbursed for any improvements they have made to the Property.
Chase Manhattan Bank v_ Candelaria (denying purchaser’s request to be reimbursed for |
improvements he made to the property).
B, GENUINE ISSUES AS TO MATERIAL FACTS.

The Plaintiffs’ Motion states that ‘no material issues of fact remain.” As stated above.
whether Williams made any improvements to the Property after the transcript of the Deficiency;
Judgment was recorded and, if so, how much they spent on those improvements are genuine issues

of material fact that remain to be determined by the Court.

CONCLUSION
The Plaintiffs’ Motion should be denied because there are genuine issues as to the material
facts and the Plaintiffs are not entitled toa judgment as a matter of law.
Respectfully submitted,

LAW OFFICE OF KYLE H. MOBERLY, P.C.

By: “s¢ Kyle H. Moberly
Kyle H. Moberly
Attorney for Tammy Sprague as personal
representative of the estate of Fred Van
Winkle, deceased
2460 S. Locust Street, Suite E
Las Cruces, New Mexico 88001
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1 HEREBY CERTIFY that a true and correct
copy of the foregoing memorandum in
Opposition to the Plaintiffs’ Motion for
Summary Judgment to Foreclose Judgment
Lien and Supporting Brief was mailed to
Martin, Dugan & Martin, Attomeys for
Plaintiffs, P.O. Box 2168, Carlsbad, New
Mexico 88221, this 1" day of June, 2015,

i Kyle H. Moberly
KYLE H. MOBERLY

Estate of Fred Van Winkle’s Memorandum in Opposition to

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B18 (Official Form 18\12/07)

United States Bankruptcy Court

District of New Mexico
Case No. 13-11743-j7
Chapter 7
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Fred Dale Van Winkle
PO Box 1691
Ruidoso, NM 88355

Last four digits of Social Security or other
Individual Taxpayer—Identification No(s)., (if any):
XXx-xx-936 1

Employer's Tax—Identification No(s)., /Other No(s) (if any):

DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to. a discharge,
IT IS ORDERED:
The debtor is granted a discharge under section 727 of title 11 United States Cade (the Bankruptcy Code).

BY THE COURT

Dated: 3/26/13 Robert H, Jacobvitz
United States Bankruptcy Judge

SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION,

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FORM B18 continued (12/07)

EXPLANATION OF BANKRUPTCY DISCHARGE
IN A CHAPTER 7 CASE

This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against

the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged,
Some of the common types of debts which are pot discharged in a chapter 7 bankruptcy case are:
a. Debts for most taxes;
b. Debts incurred to pay nondischargeable taxes;
c. Debts that are domestic support obligations;
d. Debts for most student loans;
c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
while intoxicated;

g. Some debts which were not properly listed by the debtor;

h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
ischarged;

i, Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
Plan for federal employees for certain types of loans from these plans.

This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rales. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge im this case.

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